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                                  STATEMENT OF FACTS

         1.      On Tuesday, August 24, 2021, at approximately 5:45 p.m., Officer-1 of the
Metropolitan Police Department (MPD) Sixth District was on patrol in a marked MPD cruiser in
the vicinity of the 1900 Block of 16th Street SE in Washington, DC. When Officer-1 came to a
stop at the intersection of 16th Street and T Street SE, Witness-1 flagged down Officer-1 to report
that a then-unknown person, later determined to be Defendant HAILE SALAAM, was engaged in
consuming narcotics in the rear of an apartment building at 1900 16th Street SE.

        2.      Officer-1 drove into the alley adjacent to 1900 16th Street SE, exited the cruiser,
and approached the rear of the building, where Officer-1 observed SALAAM sitting on an exterior
stairwell leading to the basement of the building. Officer-1 observed SALAAM using a needle to
inject an unknown substance into his arm. As Officer-1 approached SALAAM, SALAAM stated,
in sum and substance, “Oh, how are you doing sir. I’m just shooting up. Do you want me to move?
I’ll move right now. I’m just an addict.” Officer-1 responded, in sum and substance, “I understand.
Just get your stuff. . . I understand, you can’t do it here though.” SALAAM proceeded to gather
his things, then walked up and out of the stairwell, and then past Officer-1 toward the street.
Officer-1 did not arrest or detain SALAAM, and was prepared to allow him to leave.

       3.       As SALAAM walked past Officer-1, Officer-1 observed that SALAAM was
dressed in red pants, a black sleeveless undershirt, and had a hoodie wrapped around his waistband.
Officer-1 further observed what appeared to be a firearm trigger and trigger guard above
SALAAM’s rear waistband.

       4.     As SALAAM walked away, Officer-1 returned to the MPD cruiser. Officer-1 then
followed SALAAM and continued to observe SALAAM while SALAAM walked down the
sidewalk. Officer-1 radioed for any additional MPD officers in the area to assist with stopping
SALAAM. Officer-1 advised that Officer-1 had observed a firearm sticking out of the rear of
SALAAM’s waistband and provided a description of SALAAM’s location and clothing.

        5.      Officer-1 continued to follow SALAAM to the 1700 block of Minnesota Avenue
SE, where SALAAM walked on the sidewalk on the east side of Minnesota Avenue in a
northbound direction. Officer-1 observed other MPD units approach Officer-1’s location from the
north in the southbound lane of the 1700 block of Minnesota Avenue SE.

        6.     Officer-1 stopped Officer-1’s MPD cruiser in the road in the vicinity in front of
1737 Minnesota Avenue SE, exited the cruiser, and directed SALAAM to stop. As Officer-1
directed SALAAM to stop and began approaching SALAAM on the sidewalk, Officer-1 observed
SALAAM reach to his rear waistband. SALAAM then pulled a firearm from his rear waistband
area and pointed the firearm at or in the direction of Officer-1. Upon seeing SALAAM reach to
his rear waistband and brandish a firearm, Officer-1 pulled and fired his service weapon at
SALAAM several times in rapid succession, striking SALAAM once in the right leg.

        7.    Additional MPD officers on scene quickly approached SALAAM from the north
and directed SALAAM to drop the firearm. MPD officers then secured a firearm on the sidewalk
next to SALAAM and began providing medical assistance to SALAAM.




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       8.     MPD officers recovered the firearm from the sidewalk next to SALAAM, which
was determined to be an ASTRA A100, 9 mm caliber firearm, bearing Serial No. 7592c. The
firearm was loaded with one 9 mm round in the chamber and 13 additional 9 mm rounds in the
magazine.

       9.      There are no firearm or ammunition manufacturers in the District of Columbia.
Therefore, the firearm and ammunition in this case would have traveled in interstate commerce.

        10.   Defendant SALAAM was transported to The George Washington University
Hospital for medical treatment. While at the hospital, Defendant SALAAM provided his name to
MPD officers. MPD officers queried a law enforcement database and located an identity (for
SALAAM) with an associated photograph. MPD officers then showed the photograph to
SALAAM, at which point Defendant SALAAM looked at the photograph and confirmed his
identity.

       11.     A criminal history check of Defendant SALAAM through the National Crime
Information Center (NCIC) confirmed that SALAAM has multiple prior felony convictions,
including but not limited to the following felony convictions in the Superior Court of the District
of Columbia:

           a. A felony conviction for Attempt to Commit Robbery, Case No. 2015 CF3 017109.
              SALAAM was sentenced to 24 months of imprisonment and three years of
              supervised release for this conviction.

           b. A felony conviction for Aggravated Assault While Armed, Case No. 2002 FEL
              007220. SALAAM was sentenced to seven years of imprisonment and five years
              of supervised release for this conviction.

       12.      Therefore, Defendant SALAAM was aware at the time of his arrest in this case that
he had at least one prior conviction for a crime punishable by imprisonment for a term exceeding
one year.

                                             _____________________________________
                                             INVESTIGATOR VIJAY SHARMA (#1775)
                                             METROPOLITAN POLICE DEPARTMENT


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 27th day of August, 2021.                     2021.08.27
                                                              16:31:23 -04'00'
                                             ___________________________________
                                             ZIA M. FARUQUI
                                             UNITED STATES MAGISTRATE JUDGE




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